         Case 1:19-cv-01915-JEB Document 15 Filed 09/19/19 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CAUSE OF ACTION INSTITUTE                  )
                                           )
                  Plaintiff,              )
                                          )
            v.                            )   Civil Action No. 19-1915 (JEB)
                                          )
EXPORT-IMPORT BANK                        )
OF THE UNITED STATES                      )
                                          )
                  Defendant.              )
__________________________________________)

                JOINT STATUS REPORT AND PROPOSED SCHEDULE

       Plaintiff Cause of Action Institute (“CoA Institute”) and Defendant Export-Import Bank of

the United States (“Ex-Im Bank”), by and through their undersigned counsel, provide the following

joint status report and proposed schedule pursuant to the Court’s August 15, 2019 Minute Order.

1.     This lawsuit involves two Freedom of Information Act (“FOIA”) requests made by CoA

       Institute to the Ex-Im Bank: FOIA Request # 201800076F, dated September 20, 2018, and

       FOIA Request # 201900047F, dated May 24, 2019.

2.     CoA Institute filed its Complaint on June 26, 2019. ECF No. 1. Ex-Im Bank filed its

       Answer on August 8, 2019. ECF No. 13.

3.     On August 28, 2019, Ex-Im Bank issued its full and final response, including the

       production of non-exempt portions of responsive records, to FOIA Request # 201800076F.

4.     With respect to FOIA Request # 201900047F, Ex-Im Bank expects to send CoA Institute

       its response letter and to produce any non-exempt responsive records no later than

       September 30, 2019.
         Case 1:19-cv-01915-JEB Document 15 Filed 09/19/19 Page 2 of 2




5.    Accordingly, the parties propose that the Court defer setting a briefing schedule at this time

      and instead direct the parties to submit another joint status report by October 18, 2019.

Date: September 19, 2019                         Respectfully submitted,

/s/ Ryan P. Mulvey                          JESSIE K. LIU, D.C. Bar No. 472845
Jessica L. Thompson (D.C. Bar. No. 1542170) United States Attorney
Lee A. Steven (D.C. Bar No. 468543)
Ryan P. Mulvey (D.C. Bar No. 1024362)       DANIEL F. VANHORN, D.C. Bar No. 924092
                                            Chief, Civil Division
CAUSE OF ACTION INSTITUTE
1875 Eye St., NW, Suite 800                 /s/ April Denise Seabrook
Washington, DC 20006                        APRIL DENISE SEABROOK
Telephone: (202) 499-4232                   D.C. Bar No. 993730
Facsimile: (202) 330-5842                   Assistant United States Attorney
jessica.thompson@causeofaction.org          555 Fourth Street, N.W.
lee.steven@causeofaction.org                Washington, D.C. 20530
ryan.mulvey@causeofaction.org               Telephone: 202-252-2525
                                            April.Seabrook@usdoj.gov
Counsel for Plaintiff
                                            Counsel for Defendant




                                                2
